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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

IN THE MATTER OF:                                  )           CASE NO.       04-10427
                                                   )           CHAPTER        11
AUBURN FOUNDRY INC.                                )           REG/jl
                                                   )
                                                   )
       Debtor(s)


                                           ORDER

       At Fort Wayne, Indiana, on April 7, 2005.

       On January 12, 2005, Attorney Henry Efroymson, counsel for the Unsecured Creditors

Committee, filed an application for fees in the amount of $14,043.00 and expenses in the amount of

$689.98, less any amounts previously paid. Appropriate notice has been given and there has been no

objection;

       IT IS THEREFORE ORDERED that the application for fees is APPROVED.




                                                          /s/ Robert E. Grant
                                                        Judge, United States Bankruptcy Court
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 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 0755-1                 User: jlesure                       Page 1 of 1                         Date Rcvd: Apr 07, 2005
 Case: 04-10427                       Form ID: pdf004                     Total Served: 3

 The following entities were served by first class mail on Apr 09, 2005.
 dbpos     +Auburn Foundry, Inc.,    635 W. Eleventh Street,   Auburn, IN 46706-2199
 aty       +John R. Burns(DM),    111 East Wayne Street,   Fort Wayne, IN 46802-2600
 aty       +Mark Werling(DM),   Baker & Daniels,    111 East Wayne Street, #800,   Fort Wayne, IN 46802-2600
 The following entities were served by electronic transmission.
 NONE.                                                                                                              TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Apr 09, 2005                                      Signature:
